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                        EXHIBIT 06
               Case 1:24-cv-00648-AA
                                   RE: 1R:Document      23-7
                                          Procedure de La          Filed 06/20/24
                                                          Haye - Paris/Brown                          Page 2EXHIBIT06
                                                                                                             of 3

       Subject: RE: TR: Procedure de La Haye - Paris/Brown
       From: REYNES Olivier-Antoine <olivier-antoine.reynes@diplomatie.gouv.fr>
       Date: 07/08/2023 19:37
       To: 'Arnaud Paris' <aparis@sysmicfilms.com>
       CC: Frederic JUNG <frederic.jung@diplomatie.gouv.fr>, HENON Clementine
       <clementine.henon@diplomatie.gouv.fr>, Christelle SAMSON
       <christelle.samson@diplomatie.gouv.fr>, 'BEDOUSSAC Anthony'
       <anthony.bedoussac@diplomatie.gouv.fr>, admin-francais.san-francisco-
       fslt@diplomatie.gouv.fr

       Dear Sir,

       As you know, we made our decision to issue the passes for your daughters not without having first checked its merits, in
       particular with our central administration. Witness our many exchanges that we have had since you informed us of the
       removal of your daughters by their mother.

       In support of your request, you presented yourself with a court decision confirming that you exercise parental authority over
       your two daughters and determining their habitual residence with you, in France. This decision is also registered in Oregon.
       From then on, nothing stood in the way of the issue of French titles for your daughters.

       In addition, the American authorities, the only ones competent to decide on entry and exit on their territory, have decided to
       let you board for France after having reconsidered their initial refusal on the basis of the ban on leaving the territory
       requested by the mother of your daughters. I have no doubt that these authorities made their decision to dismiss the
       reporting of the children by their mothers after a thorough analysis of their situation.

       For our part, I can assure you that our decision to issue passes was made knowingly, in the best interests of your daughters as
       stated by the French judge.

       Sincerely,


           Olivier-Antoine REYNES
                    Gerant
             Acting Consul General

               Consulat general
               Consulate General
                San Francisco




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                                                EXHIBIT 06 - PAGE 1 OF 2
                Case 1:24-cv-00648-AA
                                    RE: TR:Document      23-7
                                           Procedure de La          Filed 06/20/24
                                                           Haye - Paris/Brown                            Page 3 of 3

        Subject: RE: TR: Procedure de La Haye - Paris/Brown
        From: REYNES Olivier-Antoine <olivier-antoine.reynes@diplomatie.gouv.fr>
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        To: 'Arnaud Paris' <aparis@sysmicfilms.com>
        CC: Frederic JUNG <frederic.jung@diplomatie.gouv.fr>, HENON Clementine
        <clementine.henon@diplomatie.gouv.fr>, Christelle SAMSON
        <christelle.samson@diplomatie.gouv.fr>, 'BEDOUSSAC Anthony'
        <anthony.bedoussac@diplomatie.gouv.fr>, admin-francais.san-francisco-
        fslt@diplomatie.gouv.fr

        Cher Monsieur,

        Comme vous le savez, nous avons pris notre decision de delivrer les laisser-passer pour vos filles non sans avoir, au
        prealable, verifie son bienfonde, notamment avec notre administration centrale. En temoignent nos nombreux
        echanges que nous avons eu depuis que vous nous avez informes du deplacement de vos filles par leur mere.

        A l'appui de votre demande, vous vous etes presente avec une decision de justice confirmant que vous avez
        l'exercice de l'autorite parentale sur vos deux filles et fixant leur residence habituelle chez vous, en France. Cette
                                                                                          a
        decision est par ailleurs enregistree dans !'Oregon. Des lors, rien ne s'opposait la delivrance de titres franc;:ais
        pour vos filles.

        De plus, les autorites americaines, seules competentes pour decider des entrees et sorties sur leur territoire, ont
        decide de vous laisser embarquer pour la France apres etre revenues sur leur refus initial pris sur la base de
        !'interdiction de sortie du territoire sollicitee par la mere de vos fill es.Jene doute pas que ces autorites ont pris
        leur decision d'ecarter le signalement des enfants par leur mere apres une analyse approfondie de leur situation.

        De notre cote, je peux vous assurer que notre decision de delivrer des laisser-passer a ete prise en connaissance
        de cause, dans l'interet superieur de vos filles tel qu'il a ete dit par le juge franc;:ais.

        Tres cordialement,




            Olivier-Antoine REYNES
                    Gerant
             Acting Consul General

                Consulat general
                Consulate General
                 San Francisco




        De : Arnaud Paris [mailto:aparis@sysmicfilms.com]
        Envoye : lundi 7 aout 2023 07:44
        A: REYNES Olivier-Antoine <olivier-antoine.reynes@diplomatie.gouv.fr>; BEDOUSSAC Anthony
        <anthony.bedoussac@diplomatie.gouv.fr>; admin-francais.san-francisco-fslt@diplomatie.gouv.fr
        Objet: Fwd: TR: Procedure de La Haye - Paris/Brown

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        ***[EMETTEUR EXTERNE] : Ne cliquez sur aucun lien et n'ouvrez aucune piece jointe mains qu'ils ne proviennent
        d'un expediteur fiable, ou que vous ayez !'assurance que le contenu provient d'une source sure***.


        Bonjour, je pense que quelqu'un au consulat qui etait present les jours precedents notre depart et qui aurait


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